                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )       Case No. 1:16-cr-100-HSM-SKL
v.                                                 )
                                                   )
JEFFERY FREDERIQUE                                 )

                                          ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the eight-count

Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter [Doc. 78 ]. Neither party filed a timely objection to the

report and recommendation. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation.      Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge’s report and recommendation [Doc. 78] pursuant to 28 U.S.C. § 636(b)(1) and

ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

              is GRANTED;

       (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

              Indictment;

       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

              and




Case 1:16-cr-00100-TRM-SKL         Document 79 Filed 07/11/17            Page 1 of 2     PageID
                                         #: 368
      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on October 16, 2017 at 9:00 a.m. [EASTERN] before the

            Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                      /s/ Harry S. Mattice, Jr._______
                                                     HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




                                              2




Case 1:16-cr-00100-TRM-SKL      Document 79 Filed 07/11/17          Page 2 of 2     PageID
                                      #: 369
